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                             EXHIBIT 2
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                 Harper and Heim Share of Total Henry Schein Inc. Purchases1
                               Summit County, OH, 2006-2018

                                                      Total Purchases        Share of Total
                  Customer Name      Customer ID      for All Products     Summit Purchases
                  Heim               2568230               $14,484              0.02%
                  Harper             514404                $22,254              0.03%




1
 The data in the table is derived from Schein’s previously produced and voluminous transactional data (HSI Opioid
Sales 1.1.06 to 12.31.18.xlsx and 2019.05.19 – HSI Total Transactions to Summit county 2006-2018.xlsx). For the
convenience of the Court and in accordance with Federal Rules of Evidence 1006, Henry Schein submits this
summary in lieu of those voluminous spreadsheets.
